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W.D, OF TN. NiiifviPHtS
KAY SWEENEY,
Plaintiff,
vs. Civ. No. 04-2561-P
RIVER WAFFLES, LLC, et al.,

Defendant.

 

ORDER ON PEN'.DING MOTIONS A.ND MODIFYING SC'HEDULING ORDER

 

Before the court is plaintiff's Motion to Compel River Waffles
to Supplement Its Initial Disclosures (dkt #36), plaintiff's Motion
to Compel Regarding Plaintiff's Request for Production of Documents
(dkt #35), and plaintiff's Motion for Continuance of Trial Date and
Discovery Extension (dkt #34), all filed on May 16, 2005. On June
23, 2005, the court held a hearing on these motions. Counsel for
all parties were present and heard. At the hearing, the plaintiff
stated that she has, since the filing of her motion to compel,
received additional initial disclosures, and therefore asked that
her motion be withdrawn. On that basis, plaintiff's Motion to
Compel River' Waffles to Supplement Its Initial Disclosures is
DENIED as moot.

With respect to the motion compel production of documents, the

parties asked that the notion be held in abeyance until after

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expert disclosures. Thus, the motion is DENIED without prejudice.
The plaintiff may renew this motion at a later date, if necessary.
Finally, the court GRANTS the motion to continue the trial and
extend discovery. The parties are instructed to appear for a
telephonic status conference on August ll, 2005, at 2:00 p.m. to
discuss setting a new trial date and scheduling order. The current
deadlines set in the scheduling order shall be held in abeyance
until a new scheduling order is entered, with the following
exceptions: plaintiff's expert disclosures shall be due by July
22, 2005, and defendants River Waffles and Marketplace Investments,
LLC's expert disclosures shall be due by September 22, 2005.

IT IS SO ORDERED.

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TU M. PHAM

United States Magistrate Judge

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Date

 

 

UNITED sTATESDISTIC COUR - WESRNTE D"'TRCT oFTENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CV-02561 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

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Honorable Tu Pham
US DISTRICT COURT

